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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
                                                       CRIMINAL NUMBER:
       Plaintiff,
                                                       1:18-cr-00032-DLF
v.

INTERNET RESEARCH AGENCY LLC, et
al.,

       Defendants.



                                   PROPOSED ORDER

       Upon consideration of Defendant Concord Management and Consulting, LLC’s Motion

for a Supplemental Bill of Particulars, it is hereby ORDERED that the motion is GRANTED.

       IT IS FURTHER ORDERED that the government shall provide a supplemental Bill of

Particulars identifying which Defendant(s) were required to file under FECA and register under

FARA and on behalf of whom.

       SO ORDERED.



Dated: ______________________                   ____________________________________
                                                Dabney L. Friedrich
                                                United States District Judge
